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     ALL NIPPON AIRWAYS CO., LTD.
 9

10                                UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12

13   ASHLEY BUGARIN, on behalf of herself and )            Case No. 5:20-cv-03341-BLF
     all others similarly situated,           )
14                                            )            DEFENDANT ALL NIPPON AIRWAYS
                     Plaintiff,               )            CO. LTD.’S NOTICE OF MOTION AND
15                                            )            MOTION TO COMPEL
             vs.                              )            ARBITRATION AND DISMISS
16                                            )            PLAINTIFF’S SECOND AMENDED
     ALL NIPPON AIRWAYS CO., LTD.,            )            COMPLAINT
17                                            )
                     Defendant.               )             Date:              August 12, 2021
18                                            )             Time:              9:00 a.m.
                                              )             Courtroom:         3 - 5th Floor
19                                            )             Judge:             Hon. Beth Labson
                                              )                                Freeman
20                                            )            [Filed concurrently herewith Declaration of
                                              )            Grace M. Lau, Declaration of Peter Vazan,
21                                            )            Request for Judicial Notice, and [Proposed]
                                              )            Order]
22                                            )

23          PLEASE TAKE NOTICE that on August 12, 2021, at 9:00 a.m., in Courtroom 3, Fifth
24   Floor of the above captioned court, located at 280 South 1st Street, San Jose, California, 95113,
25   defendant All Nippon Airways Co., Ltd., (hereinafter referred to as “ANA”), by and through its
26   attorneys of record, Condon & Forsyth LLP, will move this Court for an order compelling
27   arbitration of the claims contained in Plaintiff Ashley Bugarin’s (hereinafter referred to as
28   “Plaintiff”) Second Amended Complaint (“SAC”) against ANA pursuant to the Federal

     MOTION TO COMPEL ARBITRATION AND DISMISS
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                                                              1   Arbitration Act or, in the alternative, dismissal of the same pursuant to Rule 12(b)(6) of the

                                                              2   Federal Rules of Civil Procedure.

                                                              3          This motion will be based on this Notice of Motion, the Memorandum of Points and

                                                              4   Authorities below, the Request for Judicial Notice, the Declaration of Grace M. Lau, the

                                                              5   Declaration of Peter Vazan and any oral argument presented at the hearing of this motion.

                                                              6

                                                              7   Dated: March 5, 2021                              CONDON & FORSYTH LLP

                                                              8

                                                              9                                                     By:/s/ Scott D. Cunningham
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                                                              1                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                              2                                           INTRODUCTION
                                                              3          This action is Plaintiff’s putative class action based upon her claim that ANA failed to

                                                              4   provide a refund for a flight canceled in response to the COVID-19 pandemic. ANA moves to

                                                              5   compel arbitration or, in the alternative, to dismiss Plaintiff’s Second Amended Complaint

                                                              6   (“SAC”) on the grounds that Plaintiff fails to state a claim for breach of contract.

                                                              7          This is ANA’s second motion to dismiss Plaintiff’s claims. In its Order granting ANA’s

                                                              8   Motion to Dismiss Plaintiff’s First Amended Complaint, this Court held that Article 13 of

                                                              9   ANA’s Conditions of Carriage (“COC”) required passengers to submit a request as a condition

                                                             10   precedent to receipt of a refund and that Plaintiff’s allegations were insufficient to show that

                                                             11   ANA prevented her from performing the condition precedent. The Court granted Plaintiff leave
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                                                             12   to amend with respect to two narrow issues: (1) allege facts showing that Article 13 did not
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                                                             13   create a condition precedent; or (2) allege more particular facts demonstrating that her

                                                             14   performance of the condition precedent was excused. The SAC fails to comply with the Court’s

                                                             15   order or to plead facts that, if proven, would establish a breach of contract. The SAC merely

                                                             16   offers the same factual allegations as set forth in Plaintiff’s prior pleadings buttressed by new

                                                             17   conclusory statements to the effect that ANA frustrated Plaintiff’s ability to perform the

                                                             18   condition precedent. Accordingly, the SAC does not state a claim for relief against ANA

                                                             19   pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure and should be dismissed with

                                                             20   prejudice.

                                                             21          As a separate and independent basis for dismissal, Plaintiff revealed for the first time in

                                                             22   the SAC, which is her third pleading, that she contacted Asaptickets.com (“ASAP”) in April

                                                             23   2020, and successfully requested a refund, but refused to accept the refund because she did not

                                                             24   want to pay a processing fee that was, at all times, clearly stated in ASAP’s Rules and

                                                             25   Conditions. Instead, she opted to sue ANA despite the fact she purchased her tickets from

                                                             26   ASAP. Plaintiff further alleges that this processing fee, which was applied by ASAP in

                                                             27   accordance with its Rules and Conditions, was an attempt by ANA to “direct[ly] frustrat[e] the

                                                             28
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                                                              1   condition precedent.” Since Plaintiff’s claim against ANA is dependent on her frustration

                                                              2   defense, and her frustration defense is predicated upon the processing fee contained in ASAP’s

                                                              3   Rules and Conditions, Plaintiff’s claim against ANA relies upon and is intertwined with ASAP’s

                                                              4   Rules and Conditions. Therefore, pursuant to the doctrine of equitable estoppel, ANA may

                                                              5   invoke the arbitration provision in ASAP’s Rules and Conditions which mandates binding

                                                              6   arbitration as the exclusive means of resolving claims involving a dispute arising out of ASAP’s

                                                              7   services. As such, Plaintiff’s claim must be resolved by an arbitrator and should be dismissed

                                                              8   with prejudice.

                                                              9                             STATEMENT OF ISSUES TO BE DECIDED
                                                             10            The first issue to be decided by way of this motion is whether ANA can compel Plaintiff

                                                             11   to submit her breach of contract claim to arbitration pursuant to the Federal Arbitration Act.
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                                                             12            The second issue to be decided by way of this motion is whether Plaintiff’s amended
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                                                             13   allegations are sufficient to excuse her performance of the condition precedent set forth in

                                                             14   ANA’s Condition of Carriage.

                                                             15                                STATEMENT OF RELEVANT FACTS
                                                             16    I.      Plaintiff’s Ticketing and Interactions with ANA and ASAP.

                                                             17            On or around November 2019, Plaintiff purchased passenger tickets through online travel

                                                             18   agent ASAP for ANA flights from San Jose, California, to Tokyo, Japan, on March 23, 2020,

                                                             19   and from Tokyo to San Francisco, California, on April 8, 2020. (SAC, ECF No. 32, ¶ 25).

                                                             20   Plaintiff’s departing flight was operated by ANA as scheduled. (Order dated January 19, 2021,

                                                             21   ECF No. 31, p. 2, ll. 6-7). On or around April 2020, Plaintiff’s return flight from Tokyo to San

                                                             22   Francisco was canceled in response to the COVID-19 pandemic. (SAC, ECF No. 32, ¶ 25).

                                                             23         Plaintiff alleges that thereafter, on or around April 2020, she called ASAP to request a refund

                                                             24   and was informed by ASAP that she was required to pay a $200 fee per ticket in order to procure

                                                             25   a refund. Id. at ¶ 18. At all times relevant to the SAC, ASAP’s Rules and Conditions have

                                                             26   clearly stated that “if fare rules allow refunds and/or exchanges, a $250.00 ITN LLC fee will be

                                                             27   charged to process any refund.” See Rules and Conditions of ASAP Tickets (“ASAP Rules and

                                                             28
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                                                              1   Conditions”), Exh. 4 to Declaration of Peter Vazan (“Vazan Decl.”); Exh. 4 to Declaration of

                                                              2   Grace M. Lau (“Lau Decl.”); Exh. 4 to Req. for Judicial Notice (“RJN”)). Plaintiff nevertheless

                                                              3   refused the refund offered. Instead, she called ANA “several times” to request a refund for the

                                                              4   cancelled portion of her trip. (SAC, ECF No. 32, ¶ 25). Plaintiff alleges that she never spoke

                                                              5   with an ANA representative because after waiting for 30-45 minutes each time, her calls

                                                              6   dropped. Id. Plaintiff does not allege why the calls were “dropped” or that ANA was

                                                              7   responsible for dropping her calls. ANA has no record of Plaintiff requesting a refund through

                                                              8   its website or ANA’s customer service telephone line. (Order dated January 19, 2021, ECF. No.

                                                              9   31, p. 6, ll. 25-26).

                                                             10     II.   Procedural History of Plaintiff’s Claim.

                                                             11           On May 15, 2020, Plaintiff filed a class action lawsuit against ANA, only, for: (1) unjust
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                                                             12   enrichment, (2) conversion, (3) breach of contract, (4) money had and received and (5) violation
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                                                             13   of California’s Unfair Competition law. ANA filed a motion to dismiss all claims on July 20,

                                                             14   2020. In response to ANA’s motion, Plaintiff filed her First Amended Complaint, which omitted

                                                             15   many of her original claims and only alleged causes of action for breach of contract and

                                                             16   rescission. ANA subsequently filed a motion to dismiss Plaintiff’s First Amended Complaint on

                                                             17   August 17, 2020. The motion contended, among other arguments, that: (1) ANA’s Conditions of

                                                             18   Carriage (“COC”) required Plaintiff to request a refund, a condition precedent that Plaintiff did

                                                             19   not perform and therefore she was not entitled to a refund; and (2) Plaintiff’s state law rescission

                                                             20   claim was preempted by the Airline Deregulation Act. (See generally ANA’s Motion to Dismiss

                                                             21   the FAC, ECF No. 18). Plaintiff opposed ANA’s motion, arguing, in relevant part, that ANA

                                                             22   frustrated Plaintiff’s attempts to satisfy the condition precedent by placing her in “an endless

                                                             23   hold loop.” (See Plaintiff’s Opposition to ANA’s Motion to Dismiss the FAC, ECF No. 25, p.

                                                             24   3). The Court granted ANA’s Motion in part, dismissed both causes of action and granted

                                                             25   Plaintiff leave to amend the breach of contract cause of action only. (Order dated January 19,

                                                             26   2021, ECF No. 31, p.23, ll.2-3). In doing so, the Court held that ANA’s COC created a

                                                             27   condition precedent and that Plaintiff’s allegations were insufficient to demonstrate that ANA

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                                                              1   frustrated her performance of this condition precedent. Id. at p.22, ll. 15-20. The Court allowed

                                                              2   Plaintiff to amend her complaint to allege additional facts demonstrating that either ANA’s COC

                                                              3   did not create a condition precedent to a refund or more particular facts supporting her claim that

                                                              4   her performance of the condition precedent was excused. Id. at p.22, ll. 15-20. Plaintiff filed her

                                                              5   SAC on February 5, 2021, with amended allegations regarding her contact with ASAP and ANA

                                                              6   in an attempt to support the breach of contract cause of action.

                                                              7    III. ANA’s Conditions of Carriage.

                                                              8          ANA’s COC apply to any carriage of a passenger aboard an ANA flight, incidental

                                                              9   services to that carriage, or services provided by ANA at fares, rates and charges published in

                                                             10   connection with the COC. (See ANA’s Conditions of Carriage, Exh. A to SAC, ECF No. 32,

                                                             11   p.19). ANA’s refund policy is outlined in Articles 7 and 13 of the COC. (See ANA’s
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                                                             12   Conditions of Carriage, Exh. A to SAC, ECF No. 32, pp. 23, 29). Article 13(B)(1) states, “ANA
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                                                             13   will make a refund to the person named in a Ticket or, to the person who purchased the Ticket

                                                             14   upon presentation to ANA of satisfactory evidence that he/she is entitled by these Conditions

                                                             15   of Carriage to such refund.” Id. (emphasis added). Article 13(B)(3) elaborates: “ANA will

                                                             16   make a refund only if all unused Flight Coupons and a Passenger Coupon or Passenger Receipt

                                                             17   (or, in the case of an Electronic Ticket, the itinerary/Receipt) are surrendered to ANA.” Id. This

                                                             18   Court has interpreted this Article as requiring a request as a condition precedent to receipt of a

                                                             19   refund. (Order dated January 19, 2021, ECF No. 31, p. 22, ll. 15-20).

                                                             20          ASAP is not an authorized ticket agent of ANA. (Order dated January 19, 2021, ECF

                                                             21   No. 31, p. 2, 6-7). ANA does not have a contract with ASAP authorizing ASAP to sell tickets on

                                                             22   ANA’s behalf. Id. There are no policies contained in the COC discussing tickets purchased

                                                             23   through unauthorized agents or refund policies for such tickets. (See ANA’s Conditions of

                                                             24   Carriage, Exh. A to SAC, ECF No. 32, pp. 17-35).

                                                             25    IV. ASAP’s Policies Pursuant to its Rules and Conditions and Relation to International
                                                                       Travel Network.
                                                             26
                                                                         ASAP is an online ticket agency that purports to provide “cheap airline tickets
                                                             27
                                                                  worldwide” and “the best flight deals that are not available online.” (See What is ASAP Tickets?
                                                             28
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                                                              1   (“ASAP About Page”), Exh. 1 to Vazan Decl., p. 1; Exh. 1 to Lau Decl., p.1; Exh. 1 to RJN,

                                                              2   p.1). At the bottom of all pages on ASAP’s website is a hyperlink to ASAP’s Rules and

                                                              3   Conditions. (See Vazan Decl. ¶ 8). All customers of ASAP are advised that “if [they] continue

                                                              4   to browse and use [the ASAP] website, [they] are agreeing to comply and be bound by the

                                                              5   conditions of use.” (See ASAP Rules and Conditions, Exh. 4 to Vazan Decl., p. 1; Exh. 4 to Lau

                                                              6   Decl., p.1; Exh. 4 to RJN, p.1). Furthermore, when booking flights through ASAP, all users are

                                                              7   directed to a webpage entitled “Review Details and Confirm Your Trip” which requires users to

                                                              8   input billing information and check a mandatory box indicating they have read, understood and

                                                              9   accepted “present Terms and Conditions.” (See Vazan Decl. ¶ 7; Review Details and Confirm

                                                             10   Your Trip (“ASAP Booking Page”), Exh. 3 to Vazan Decl.; Exh. 3 to Lau Decl.; Exh. 3 to RJN).

                                                             11   The words “Terms and Condition” are bolded, underlined and hyperlinked to a pop-up box that
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                                                             12   restates the ASAP Rules and Conditions. Id.
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                                                             13          Included in the ASAP’s Rules and Conditions is an arbitration provision that states
                                                             14   plainly that the “exclusive means of resolving any dispute or claim arising out of or relating to
                                                             15   this Agreement (including any alleged breach thereof), the Service or the Website shall be
                                                             16   binding arbitration.” (See ASAP Rules and Conditions, Exh. 4 to Vazan Decl., p. 1); Exh. 4 to
                                                             17   Lau Decl., p.1; Exh. 4 to RJN, p.1. Regarding fare restrictions and rules, ASAP’s Rules and
                                                             18   Conditions state that “if fare rules allow refunds…a $250.00 ITN LLC fee will be charged to
                                                             19   process any request.” Id. at p. 4. “ITN LLC” is defined in the Rules and Conditions as

                                                             20   International Travel Network, LLC. Id. at p. 2. International Travel Network, LLC (“ITN,

                                                             21   LLC”) is a travel-management consolidator and provider of travel and related services to

                                                             22   consumers that does business as ASAP Tickets. (See Vazan Decl., ¶ 3.; see also Seller Details,

                                                             23   Exh. 2 to Vazan Decl.; Exh. 2 to Lau Decl.; Exh. 2 to RJN.) Provided International Travel

                                                             24   Network, LLC does business as a registered seller of travel, it is subject to regulations to

                                                             25   California Business and Professions Code § 17550. Id.

                                                             26    V.    DOT Guidelines in Response to COVID-19.

                                                             27          On April 3, 2020, in response to a high volume of complaints regarding cancelled flights

                                                             28
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                                                              1   as a result of COVID-19, the DOT released a Notice stating the Aviation Enforcement Office

                                                              2   would view any contract of carriage or airline policy that denied refunds to passengers following

                                                              3   cancellation of a flight as a violation of the carrier’s obligation that could be subject to an

                                                              4   enforcement action. (See Enforcement Notice Regarding Refunds by Carriers Given the

                                                              5   Unprecedented Impact of the COVID-19 Public Health Emergency on Air Travel (“DOT

                                                              6   Notice”); Exh. 5 to Lau Decl., p. 2; Exh. 5 to RJN, p.1).

                                                              7          On May 12, 2020, the DOT clarified its views in its published Frequently Asked

                                                              8   Questions, which stated that the Aviation Enforcement Office would focus its enforcement

                                                              9   actions on instances where carriers disregarded the requirement to offer refunds, failed to honor

                                                             10   their refund policies, or their refund policies were deemed “unfair or deceptive” under 49 U.S.C.

                                                             11   § 41712. See Frequently Asked Questions Regarding Airline Ticket Refunds Given the
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                                                             12   Unprecedented Impact of the COVID-19 Public Health Emergency on Air Travel (“FAQs”),
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                                                             13   Exh. 6 to Lau Decl., p. 2, No. 1); Exh. 6 to RJN, p.2, No. 1). The DOT also clarified that where

                                                             14   passengers purchased airline tickets from online travel agencies, such agencies were required to

                                                             15   make the proper refunds if flight service could not be performed as contracted pursuant to 14

                                                             16   CFR § 399.80(1). (FAQs, Exh. 6 to Lau Decl., p. 2, No. 3; Exh. 6 to RJN, p. 2 No. 3).

                                                             17                                          LEGAL STANDARD
                                                             18          ANA brings this motion pursuant to Rule 12(b)(6) of the Federal Rules of Civil

                                                             19   Procedure and the Federal Arbitration Act (“FAA”). To survive a motion to dismiss under Rule

                                                             20   12(b)(6), a complaint must “contain sufficient factual matter, accepted as true, to state a claim to

                                                             21   relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Threadbare

                                                             22   recitals of the elements of a cause of action, supported by mere conclusory statements, do not

                                                             23   suffice.” Id. at 679. A complaint’s allegations must make relief plausible, not merely

                                                             24   conceivable, when taken as true. Somers v. Apple, Inc., 729 F.3d 953, 960 (9th Cir. 2013).

                                                             25   Allegations “that are merely consistent with a defendant’s liability, [stop] short of the line

                                                             26   between possibility and plausibility of entitlement to relief,” and thus are inadequate. Id. When

                                                             27   evaluating a Rule 12(b)(6) motion, courts are limited to the allegations of the complaint,

                                                             28
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                                                              1   documents incorporated by reference and matters which are subject to judicial notice. Louisiana

                                                              2   Mun. Police Employees’ Ret. Sys., 829 F. 3d 1048, 1063 (9th Cir. 2016).

                                                              3          Congress in enacting the Federal Arbitration Act directed courts to treat arbitration

                                                              4   agreements as “valid, irrevocable, and enforceable.” See Epic Sys. Corp. v. Lewis, 138 S. Ct.

                                                              5   1612, 1621 (2018) (citing 9 U.S.C. § 2). The FAA establishes “a liberal federal policy favoring

                                                              6   arbitration agreements” and the “fundamental principle that arbitration is a matter of contract.”

                                                              7   Kramer v. Toyota Motor Corp., 705 F.3d 1122, 1126 (9th Cir. 2013). The party moving to

                                                              8   compel arbitration bears the burden of demonstrating the existence of an arbitration agreement

                                                              9   by a preponderance of the evidence. Ashbey v. Archstone Prop. Mgmt. Inc., 785 F. 3d 1320,

                                                             10   1323 (9th Cir. 2015).

                                                             11                                              ARGUMENT
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                                                             12    I.    The Allegations in Plaintiff’s SAC Require Arbitration of Her Claim against ANA.
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                                                             13          Plaintiff’s claim should be dismissed with prejudice pursuant to her binding arbitration

                                                             14   agreement with ASAP. Plaintiff, in purchasing her tickets through ASAP, agreed to resolve

                                                             15   claims regarding any disputes “arising out of or relating to this Agreement (including any alleged

                                                             16   breach thereof), the Service, or the Website” exclusively through binding arbitration. (See ASAP

                                                             17   Rules and Conditions, Exh. 4 to Vazan Decl., p. 1; Exh. 4 to Lau Decl., p.1; Exh. 4 to RJN, p.1).

                                                             18   The Federal Arbitration Act (“FAA”) provides that written agreements to arbitrate “shall be

                                                             19   valid, irrevocable, and enforceable.” 9 U.S.C. § 2. As such, Plaintiff must submit her claim to

                                                             20   individual arbitration. See, e.g., Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985);

                                                             21   Allied-Bruce Terminix Cos., Inc. v. Dobson, 513 U.S. 265, 273 (1995).

                                                             22          A.      Plaintiff Had Inquiry Notice of ASAP’s Rules and Conditions and Is Bound
                                                                                 By Its Provisions Including the Arbitration Clause.
                                                             23
                                                                         It is the court’s duty to interpret an agreement and determine whether the parties intended
                                                             24
                                                                  to arbitrate grievances concerning a particular matter. See SEIU Local 121RN v. Los Robles
                                                             25
                                                                  Reg’l Med, Ctr., 976 F. 3d 849, 855 (9th Cir. 2020). In determining whether a valid arbitration
                                                             26
                                                                  exists, courts apply ordinary state law principles that govern the formation of contracts. Nguyen
                                                             27
                                                                  v, Barnes & Noble Inc, 763 F. 3d 1171, 1175 (9th Cir 2014). Under California law, contract
                                                             28
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                                                              1   formation requires mutual assent. See Binder v Aetna Life Ins. Co., 75 Cal. App. 4th 832, 850

                                                              2   (1999). In the context of online consumer agreements or transactions, mutual assent frequently

                                                              3   turns on whether the consumer had reasonable notice of a merchant’s terms of service

                                                              4   agreement. Needle v. Golden 1 Credit Union, 474 F. Supp. 3d 1097, 1103 (N.D. Cal. 2020).

                                                              5   Online agreements are typically executed in one of three forms: (1) clickwrap agreements, in

                                                              6   which website users are required to click on an “I agree” box after being presented with a list of

                                                              7   terms and conditions of use; (2) browserwrap agreements, where a website’s terms and

                                                              8   conditions of use are generally posted on the website via a hyperlink at the bottom of the screen,

                                                              9   and (3) hybrid “sign-up” agreements, in which a user signs up to use an internet product or

                                                             10   service and the signup screen states that acceptance of a separate agreement is required before

                                                             11   the user can access the service. See Allen v. Shutterfly, Inc., No. 20-cv-02448 BLF, 2020 WL
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                                                             12   5517172 at *6 (N.D. Cal. Sep. 14, 2020).
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                                                             13          Regardless of the type of online contract, if “there is no evidence that the website user

                                                             14   had actual knowledge of the agreement,” its enforceability “turns on whether the website puts a

                                                             15   reasonably prudent user on inquiry notice of the terms of the contract.” Nguyen, 763 F, 3d at

                                                             16   1177. To determine whether a user has inquiry notice of the contract terms, courts assess “the

                                                             17   design and content of the website and the agreement’s webpage.” Id. In Maree v. Deutsche

                                                             18   Lufthansa AG, another COVID-19 class action lawsuit brought against an airline for the airline’s

                                                             19   alleged failure to provide a refund, defendant Lufthansa similarly sought to enforce

                                                             20   Expedia.com’s Terms of Use. Maree v. Deutsche Lufthansa AG, No. SACV 20-855-MWF

                                                             21   (MRWx), 2021 WL 267853 (C.D. Cal. Jan. 26, 2021). There, the court held that the plaintiff did

                                                             22   not have inquiry notice of Expedia.com’s Terms of Use because the hyperlink to the terms was

                                                             23   “not highlighted, underlined, in all capital letters, or displayed inside of a conspicuous clickable

                                                             24   box.” Id. at *3. The Maree court further noted that the hyperlink was difficult to distinguish

                                                             25   because it “appear[ed] on a cluttered page nestled between several lines of extraneous, colored

                                                             26   and bolded text.” Id. at *4.

                                                             27          This case is distinguishable. Here, ASAP has a browserwrap agreement in the form of

                                                             28
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                                                              1   the hyperlink found at the bottom of all ASAP webpages leading users to its Rules and

                                                              2   Conditions. (See Vazan Decl. ¶ 8). In addition, Plaintiff and all users who purchase tickets

                                                              3   through ASAP are also subject to a hybrid clickwrap agreement on the ASAP Booking Page

                                                              4   which, unlike Expedia.com, requires them to affirmatively check a box indicating they read,

                                                              5   understood and accepted ASAP’s Rules and Conditions before they can purchase tickets. (See

                                                              6   ASAP Booking Page, Exh. 3 to Vazan Decl., p. 8, Exh. 3 to Lau Decl., p. 8; Exh. 3 to RJN, p.

                                                              7   8). Users cannot pay for their tickets without checking this box. (Vazan Decl. ¶ 7). Unlike

                                                              8   Expedia.com, this agreement is not embedded in the middle of text but rather, is placed at the

                                                              9   bottom of the page, right above a button that reads “Pay Securely Now” and is in a light blue box

                                                             10   that distinguishes it from all other sections on the webpage. (See ASAP Booking Page, Exh. 3 to

                                                             11   Vazan Decl., p. 8, Exh. 3 to Lau Decl., p. 8; Exh. 3 to RJN, p. 8). The hyperlink to the pop-up
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                                                             12   box containing the Rules and Conditions is in blue font, bolded and underlined. Id.
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                                                             13          Where situations resemble clickwrap agreements and “an offeree receives an opportunity
                                                             14   to review terms and conditions and must affirmatively indicate assent” to the conditions, users
                                                             15   have had adequate notice of the contract terms even if the user had not actually clicked the link
                                                             16   or otherwise read the terms. Mohamed v. Uber Technologies, Inc., 109 F. Supp. 3d 1185, 1197
                                                             17   (N.D. Cal. 2015); see also Holl v. United Parcel Service, Inc., No. 16-cv-05856-HSG, 2017 WL
                                                             18   11520143 at *5 (N.D. Cal. Sep. 18, 2017). Here, the agreement to ASAP’s Rules and Conditions
                                                             19   are visually distinguishable from the remainder of the webpage, clearly denotes a hyperlink to

                                                             20   the text of the Rules and Conditions and requires affirmative action on the part of the user by

                                                             21   checking the box to accept ASAP’s terms. (See ASAP Booking Page, Exh. 3 to Vazan Decl., p.

                                                             22   8; Exh. 3 to Lau Decl., p. 8; Exh. 3 to RJN, p. 8). Regardless of whether Plaintiff read these

                                                             23   terms, she was provided sufficient inquiry notice and as such is subject to the terms of ASAP’s

                                                             24   Rules and Conditions including its arbitration provision.

                                                             25          B.      The SAC Relies upon ASAP’s Rules and Conditions to Demonstrate ANA
                                                                                 Frustrated the Condition Precedent and, therefore, ANA May Enforce
                                                             26                  ASAP’s Arbitration Provision.
                                                             27          The right to compel arbitration stems from a contractual right which generally may not be
                                                             28
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                                                              1   invoked by one who is not a party to the agreement. Britton v. Co-op Banking Group, 4 F.3d

                                                              2   742, 744 (9th Cir. 1993). However, the Ninth Circuit has recognized that under principles of

                                                              3   equitable estoppel a non-signatory may compel a signatory to a contract to arbitrate. Mundi v.

                                                              4   Union Sec. Life Ins. Co., 555 F.3d 1045-1047 (9th Cir. 2009). Under equitable estoppel, a

                                                              5   signatory to an agreement may be precluded from “claiming the benefits of a contract while

                                                              6   simultaneous attempting to avoid the burden that contract imposes.” Id; see also Goldman v.

                                                              7   KPMG, LLP, 173 Cal. App. 4th 209. 220 (2009); Mundi, 555 F.3d at 1046; Kramer, 705 F.3d at

                                                              8   1128. In this context, equitable estoppel may be used to “prevent a party from using the terms or

                                                              9   obligations of an agreement for its basis against a non-signatory while at the same time refusing

                                                             10   to arbitrate with the non-signatory under another clause of the same agreement.” Kramer, 705

                                                             11   F.3d at 1129 (quoting Jones v. Jacobson, 195 Cal. App. 4th 1, 20 (2011)). The Ninth Circuit has
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                                                             12   applied equitable estoppel to compel arbitration in two circumstances: (1) when a signatory must
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                                                             13   rely on the terms of the written agreement in asserting its claims against the non-signatory, and

                                                             14   (2) when the signatory alleges substantially interdependent and concerted misconduct by non-

                                                             15   signatory and another signatory and “the allegations of interdependent misconduct [are] founded

                                                             16   in or intimately connected with the obligations of the underlying agreement.” Id. at 1128-1129.

                                                             17   When examining whether facts in a complaint rely on terms, duties and obligations in the

                                                             18   contract containing the arbitration provision, courts consider whether the allegations are “in any

                                                             19   way founded in or bound up with the terms or obligations” in the contract. In re Pacific
                                                             20   Fertility Center Litigation, 814 Fed. Appx. 206, 209 (9th Cir. 2020) (citing Goldman, 173 Cal.

                                                             21   App. 4th at 230) (emphasis added). Put differently, if the claims are “fully viable without

                                                             22   reference to the terms of the contract, equitable estoppel does not apply.” Id.

                                                             23          Here, ANA is entitled to enforce Plaintiff’s commitments to arbitrate under ASAP’s

                                                             24   Rules and Conditions because the SAC relies on her contractual relationship with ASAP as set

                                                             25   forth in ASAP’s Rules and Conditions in order to support her claim against ANA. Pursuant to

                                                             26   the Court’s Order, Plaintiff was granted leave to amend the FAC to either provide additional

                                                             27   facts demonstrating that ANA’s Conditions of Carriage did not include a condition precedent or

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                                                              1   include additional allegations demonstrating she was excused from performing the condition

                                                              2   precedent. (Order dated January 19, 2021, ECF No. 31, p.22, ll. 15-20). The SAC seemingly

                                                              3   concedes that the Conditions of Carriage contains a condition precedent and instead “doubled

                                                              4   down” on the allegations supporting Plaintiff’s claim that she was prevented from performing the

                                                              5   condition because ANA frustrated the condition precedent. (See SAC. ECF No. 32, ¶¶ 16-21,

                                                              6   46, 50). Specifically, Plaintiff alleges:

                                                              7          After reaching a[n ASAP] representative, Plaintiff was informed that she would
                                                                         have to pay $200 per ticket in order procure a refund from All Nippon. That is
                                                              8          not part of the agreement with All Nippon and is direct frustration of the
                                                                         condition precedent.”
                                                              9

                                                             10   Id. at ¶ 18 (emphasis added).

                                                             11          This paragraph clearly states ASAP’s contractual requirements directly frustrated
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                                                             12   Plaintiff’s ability to comply with the condition precedent as set forth in the COC. Id. Plaintiff
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                                                             13   agreed to be bound by ASAP’s Rules and Conditions when she used ASAP to purchase her ANA
                                                             14   flights and its terms explicitly include this processing fee as a contractual term for the issuance of
                                                             15   a refund. (See ASAP’s Rules and Conditions, Exh. 4 to Vazan Decl., p. 4; Exh. 4 to Lau Decl.,
                                                             16   p. 4; Exh. 4 to RJN, p. 4). Absent Plaintiff’s agreement regarding the processing fee, the SAC is
                                                             17   not viable as it is otherwise devoid of new factual allegations that demonstrate that ANA
                                                             18   frustrated Plaintiff’s ability to perform the condition precedent to a refund. Plaintiff’s assertion
                                                             19   that she was excused from performance due to ANA’s frustration of the condition precedent is
                                                             20   therefore “bound up with” the processing fee provision in ASAP’s Rules and Conditions to
                                                             21   warrant equitable estoppel and ANA should be permitted to compel arbitration in compliance
                                                             22   with ASAP’s Rules and Conditions. See In re Pacific Fertility Center Litigation, 814 Fed. Appx.
                                                             23   at 209 (9th Cir. 2020). Since Plaintiff’s contention that she does not need to pay a processing fee
                                                             24   to receive a refund is a dispute that relates to a specific provision in ASAP’s Rules and
                                                             25   Conditions, this matter should be submitted to arbitration pursuant to ASAP’s terms. (See
                                                             26   ASAP’s Rules and Conditions, Exh. 4 to Vazan Decl., p. 1; Exh. 4 to Lau Decl., p. 1; Exh. 4 to
                                                             27   RJN, p. 1).
                                                             28
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                                                              1           Because Plaintiff is required to arbitrate her claims against ANA, this Court should

                                                              2   dismiss the SAC. Although the Federal Arbitration Act provides by its terms for a “stay [of] the

                                                              3   trial of the action until such arbitration has been had in accordance with the terms of the

                                                              4   agreement,” 9 U.S.C. § 3, the Court has discretion to dismiss under Rule 12(b)(6) if it finds that

                                                              5   all of the claims before it are arbitrable. Luna v. Kemira Specialty, Inc, 575 F.Supp.2d 1166,

                                                              6   1178 (C.D. Cal. 2008); see also Simula Inc. v. Autoliv, Inc., 175 F.3d 716. 726 (9th Cir. 1999).

                                                              7   Here, because Plaintiff’s frustration defense is crucial to the survival of her breach of contract

                                                              8   claim and is based on a disputed provision in ASAP’s Rules and Conditions, Plaintiff’s claim

                                                              9   must be submitted to arbitration. Accordingly, dismissal is appropriate. At a minimum,

                                                             10   however, this Court should stay the proceeding pending resolution of the arbitration.

                                                             11
                                                                    II.   As a Separate and Independent Basis for Dismissal, the SAC Must Be Dismissed
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                                                             12           Because It Does Not Plead Facts Sufficient to State a Claim for Relief Against ANA.
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                                                             13           Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, dismissal is proper
                                                             14   where a complaint fails to allege sufficient facts “to support a cognizable legal theory.” Caltex
                                                             15   Plastics, Inc. v. Lockheed Martin Corp., 824 F.3d 1156, 1159 (9th Cir. 2016). The SAC fails to
                                                             16   provide additional facts supporting Plaintiff’s contention that ANA intentionally prevented her
                                                             17   from performing the condition precedent. Instead, the SAC alleges the same facts regarding
                                                             18   ANA’s actions couched in legal conclusions. The only new facts alleged in the SAC address
                                                             19   Plaintiff’s interactions with ASAP and only demonstrate that Plaintiff agreed to ASAP’s Rules
                                                             20   and Conditions then, rather than following ASAP’s Rules and Conditions to receive a refund, she
                                                             21   rejected ASAP’s offer. None of these new allegations indicate ANA took any action to frustrate
                                                             22   Plaintiff’s performance of the condition precedent and, therefore, the SAC fails to plead facts
                                                             23   sufficient to state a claim of relief against ANA and must be dismissed.
                                                             24           A.     Plaintiff’s Amended Allegations Concede ANA’s COC Contain a Condition
                                                                                 Precedent and Do Not Demonstrate She was Excused from Performing the
                                                             25                  Condition.
                                                             26           The SAC fails to address the issues identified by the Court in its Order dismissing the
                                                             27   FAC. In the Court’s Order dismissing the FAC, the Court held, in relevant part, that:
                                                             28
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                                                              1          ANA’s motion to dismiss Claim 1 for failure to state a claim is GRANTED
                                                                         WITH LEAVE TO AMEND. On amendment, Bugarin may attempt to allege
                                                              2          facts showing that Section 13(B) does not create a condition precedent to refund.
                                                                         For the reasons discussed above, it is the Court’s view that the language in
                                                              3          question does appear to create a condition precedent. However, as Bugarin has
                                                                         not previously addressed the language in her pleading, it may be that she can
                                                              4          allege facts showing the contrary. To the extent Bugarin claims that her
                                                                         performance of any condition precedent was excused, she shall allege facts
                                                              5          supporting that claim with more particularity.

                                                              6   Order dated January 19, 2021, ECF No. 31, p.22, ll. 14-20.

                                                              7          Thus, the Court granted Plaintiff leave to amend with respect to two narrow issues: (1) to

                                                              8   allege facts showing that Section 13(B) does not create a condition precedent to a refund, or (2)

                                                              9   if it does create a condition precedent, allege facts with more particularity that would support her

                                                             10   claim that performance of any condition precedent was excused. Id. The SAC did not allege any

                                                             11   facts demonstrating that Section 13(B) of the COC does not create a condition precedent to a
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                                                             12   refund. (See generally SAC, ECF No. 32). Quite the opposite, the SAC concedes that Section
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                                                             13   13(b) is, in fact, a condition precedent to the issue of a refund. Id. at ¶¶ 16-17. Instead, the SAC

                                                             14   attempted to “beef up” the allegations that Plaintiff’s performance of the condition precedent was

                                                             15   excused. Id. at ¶¶ 46, 17-21.

                                                             16          In the FAC, Plaintiff alleged she called ANA several times to request a refund and was

                                                             17   on the phone several hours each time but was never able to reach a representative. (See FAC,

                                                             18   ECF No. 15, ¶ 19). The Court found such allegations insufficient to support a finding that

                                                             19   Plaintiff was excused from performing the condition precedent set forth in ANA’s COC. (Order

                                                             20   dated January 19, 2021, ECF No. 31, p. 22, ll. 6-13). The SAC did little to expand these

                                                             21   allegations and instead provided conclusory statements in support of Plaintiff’s legal theory that

                                                             22   ANA frustrated the condition precedent by requiring her to hold for “30-45 minutes.” (SAC,

                                                             23   ECF No. 32, ¶ 20). Instead, the SAC makes the same factual allegations that appeared in the

                                                             24   FAC, albeit slightly rephrased. The SAC alleges: “extensive hold times, and dropped calls (after

                                                             25   extensive hold times)” created an “unnecessary bottleneck [that] was designed to prevent issuing

                                                             26   refunds. The only difference between these allegations and those in the FAC alleging an”

                                                             27   “endless holding pattern of Defendant’s design,” “endless hold loop,” “multiple hours-long

                                                             28
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                                                              1   holding pattern” is semantics. (See SAC, ECF No. 32, ¶ 21; see also Opp to Motion to Dismiss,

                                                              2   ECF No. 25, p. 9, l. 8; p. 10, l. 12; p. 13, l. 2).

                                                              3           Courts are not bound to accept as true allegations that are legal conclusions even if cast in

                                                              4   the form of factual allegations. See Ashcroft v. Iqbal, 556 U.S. at 681. The SAC’s conclusory

                                                              5   summation that ANA’s alleged “unnecessary bottleneck” prevented the issue of refunds is a

                                                              6   mere restatement of California law on the prevention doctrine without any basis in factual

                                                              7   allegations. See FNBN Rescon I, LLC v. Citrus El Dorado, LLC, 725 F. App’x 448,451 (9th Cir.

                                                              8   2018); City of Hollister v. Monterey Ins. Co., 165 Cal. App.4th 455, 490 (Cal. Ct. App. 2008).

                                                              9   The only factual allegations supporting this statement are substantially similar to the statements

                                                             10   this Court deemed insufficient before; however, rather than being on hold for “several hours each

                                                             11   time,” in the SAC, Plaintiff alleged she was actually only on hold for 30-45 minutes. (See FAC,
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                                                             12   ECF No. 15, ¶ 19; SAC, ECF No. 32, ¶ 20). If Plaintiff’s allegations that she was kept on hold
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                                                             13   for “several hours” did not pass muster to properly allege frustration of the contractual terms,

                                                             14   surely Plaintiff’s new allegation that she was only on hold for “30-45 minutes” before her call

                                                             15   was “dropped” does not pass muster.

                                                             16           To the extent the SAC attempts to assert that ANA’s automated phone operator system

                                                             17   includes messages “partially in Japanese,” as Plaintiff has pleaded in her SAC, ANA is a

                                                             18   Japanese company. The SAC does not include any allegation that this was done intentionally to

                                                             19   thwart Plaintiff’s attempts to request a refund or that she was unable to understand the messaging

                                                             20   system at all – in fact, the SAC alleges that the recording was only “partially” in Japanese. (See

                                                             21   SAC, ECF No. 32, ¶ 21). As the SAC notes, ANA is “the largest airline in Japan by revenue and

                                                             22   passenger numbers,” is organized under the laws of Japan, and has its headquarters in Japan.

                                                             23   (See SAC, ECF No. 32, ¶ 26). A messaging system partially in English and partially in Japanese

                                                             24   would be expected of a Japanese airline with many Japanese-speaking passengers.

                                                             25           Taken together, Plaintiff’s amendments equate to slight rephrasing and unsupported legal

                                                             26   conclusions couched as factual allegations. The few additional factual allegations included in the

                                                             27   SAC do not demonstrate that Plaintiff submitted a request to ANA, what actions ANA allegedly

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                                                              1   took to prevent Plaintiff from performing the condition or otherwise excuse Plaintiff’s

                                                              2   nonperformance. The SAC fails to meet the requirements set out in the Court’s Order dismissing

                                                              3   the FAC or to state a claim for relief against ANA. Accordingly, it should be dismissed in its

                                                              4   entirety pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                                                              5           B.    Plaintiff’s Amended Allegations Concede She Was Offered a Refund from
                                                                                ASAP and that She Refused to Accept the Refund.
                                                              6

                                                              7           Although this is Plaintiff’s third attempt at pleading her claim, this is the first time that

                                                              8   she has alleged that she contacted the travel agent from whom she purchased her ticket, ASAP,

                                                              9   in April 2020, and was actually offered a refund but refused the refund because of an associated

                                                             10   ASAP fee imposed by ASAP. (See SAC, ECF No. 32, ⁋ 18). It has been almost ten months

                                                             11   since Plaintiff filed her original complaint. The tardiness of this allegation suggests that Plaintiff
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                                                             12   has not been intellectually honest with ANA and the Court. The gravamen of Plaintiff’s claim,
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                                                             13   and the purported class, is that she was not offered a refund for her cancelled flight. However,

                                                             14   Plaintiff now admits that this is actually false.

                                                             15           It is undisputed that Plaintiff purchased her ticket through ASAP. (SAC, ECF No. 32, ⁋

                                                             16   9; Bugarin Decl., Exh. B to SAC, ECF No. 32, ⁋ 2; Order dated January 19, 2021, ECF No. 31,

                                                             17   p. 2, l. 5). ASAP touts itself as a travel agency that specializes in “cheap airline tickets” and

                                                             18   “providing the best flight deals that are not available online.” (See ASAP About Page; Exh. 1 to

                                                             19   Vazan Decl., p. 1; Exh. 1 to Lau Decl., p. 1; Exh. 1 to RJN, p. 1). ASAP is not an authorized

                                                             20   ticket agent of ANA and does not have a contractual relationship with ANA. (Order dated

                                                             21   January 19, 2021, ECF No. 31, p. 2, ll. 6-7). Nevertheless, likely because of the low fares

                                                             22   offered by ASAP, Plaintiff elected to purchase her flights from ASAP rather than from ANA

                                                             23   directly. Because Plaintiff contracted with ASAP when she purchased her ticket, she is bound by

                                                             24   the Rules and Conditions of ASAP Tickets. (See ASAP Rules and Conditions; Exh. 4 to Vazan

                                                             25   Decl., p. 1; Exh. 4 to Lau Decl., p. 1; Exh. 4 to RJN, p. 1). Notably, the SAC does not dispute

                                                             26   that ASAP’s conditions apply. One of ASAP’s conditions states, in pertinent part, as follows:

                                                             27           If fare rules allow refunds and/or exchanges, a $250.00 ITN LLC fee will be
                                                                          charged to process any refund and/or exchange request. This fee will be collected
                                                             28           in addition to the penalties charged directly by the airline and/or recalled by the
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                                                              1          airline from ITN LLC.

                                                              2   Id. at p. 4, General Rules and Conditions, Fare Restrictions and Rules, 1. Cancellations and

                                                              3   Refunds.

                                                              4          Under the terms of the COC, ANA fare rules allow for a refund here. (ANA’s Conditions

                                                              5   of Carriage, Exh. A to SAC, pp. 29-30). However, the refund is subject to a fee of “$200 per

                                                              6   ticket in order to procure a refund” charged by ASAP. (Bugarin decl., Exh. B to SAC, p.1, ⁋4, ll.

                                                              7   16-18). The discrepancy between the alleged $200 fee in the SAC and the “$250 ITN LLC fee”

                                                              8   in ASAP’s Rules and Conditions appears to indicate that either the ITN LLC fee increased from

                                                              9   $200 when Plaintiff purchased her ticket in November 2019 to $250, or that Plaintiff was

                                                             10   misinformed regarding the fee amount. Regardless of the fee amount, it is uncontested that

                                                             11   Plaintiff’s Declaration and ASAP’s Rules and Conditions evidence that ASAP requires
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                                                             12   passengers to pay a fee when seeking a refund or exchange.
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                                                             13          ITN, LLC is International Travel Network, a travel-management consolidator and seller

                                                             14   of travel that does business as ASAP Tickets. (See Vazan Decl. ¶¶ 3-4; see also Seller Details,

                                                             15   Exh. 2 to Vazan Decl.). ITN, LLC is a registered seller of travel in the state of California and is

                                                             16   therefore subject to regulations under California Business and Professions Code § 17550. Id.

                                                             17   Accordingly, pursuant to Cal. Bus. & Prof. §17550.14, as a seller of travel, ITN, LLC has an

                                                             18   obligation to either provide travel services purchased by the passenger or make a refund. CAL.

                                                             19   BUS. & PROF. §17550.14 (West 2021). This regulation comports with DOT guidelines advising

                                                             20   passengers that have purchased tickets from online ticket agencies to contact such agencies as

                                                             21   they are required to provide proper refunds. (See FAQs; Exh. 6 to Lau Decl., No. 3; Exh. 6 to

                                                             22   RJN, No. 3). Given this, in accordance with both state and federal regulatory bodies, ASAP and

                                                             23   ITN, LLC were the appropriate entities from which Plaintiff was expected to request a refund.

                                                             24   Again, Plaintiff decided not to purchase tickets directly from ANA and willingly entered into a

                                                             25   bargain with ASAP when she purchased a reduced fare ticket subject to ASAP’s Rules and

                                                             26   Conditions. The ITN LLC processing fee charged by ASAP does not apply to tickets that are

                                                             27   sold directly by ANA to passengers.

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                                                              1           When Plaintiff requested a refund for her canceled flights from ASAP, she was

                                                              2   admittedly offered a refund pursuant to its Rules and Conditions but she expressly rejected the

                                                              3   refund. (Bugarin Decl., Exh. B to SAC, ECF No. 32, ¶ 4). It would be inequitable to allow

                                                              4   Plaintiff to recover a refund under ANA’s policies because she is unhappy with the contract she

                                                              5   made with ASAP. Furthermore, the DOT guidelines are not intended to rewrite contractual

                                                              6   provisions merely because passengers are unsatisfied with their bargains. Rather, the Aviation

                                                              7   Enforcement Office is focused on enforcing actions where a carrier or ticket agent disregarded

                                                              8   the requirement to offer refunds, failed to honor its refund policies or where their refund policies

                                                              9   or practices are otherwise “unfair or deceptive.” (See FAQs; Exh. 6 to Lau Decl., No. 1, 3; Exh.

                                                             10   6 to RJN, Nos. 1, 3). Neither ASAP nor ANA altered their refund policies or refused to honor

                                                             11   them in this case. ASAP offered to refund Plaintiff pursuant to its Rules and Conditions
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                                                             12   regarding the processing fee but Plaintiff refused the refunding. ANA has provided refunds to all
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                                                             13   passengers that have properly requested one pursuant to its Conditions of Carriage. Accordingly,

                                                             14   Plaintiff’s claim against ANA for breach of contract fails and her complaint should be dismissed

                                                             15   in its entirety with prejudice.

                                                             16     III. ANA’s Evidentiary Objections to Plaintiff’s Exhibit B to the SAC.

                                                             17           ANA hereby objects to the following evidence presented in Plaintiff’s declaration in

                                                             18   support of the SAC:

                                                             19                                              Objection No. 1:

                                                             20   Objection: “I am entitled to a refund without having to pay a $200 fee per ticket.” See Bugarin

                                                             21   Decl., ¶ 4, l. 19

                                                             22   Basis for Objection: Conclusion of Law. Pursuant to Federal Rule of Evidence 701, lay witness

                                                             23   testimony is limited to the witness’ opinion based on his or her perception and must be helpful to

                                                             24   clearly understand witness’ testimony or determine a fact in issue. FED. R. EVID. 701 (West

                                                             25   2021). Here, Plaintiff does neither and improperly opines regarding a conclusion of law, i.e.,

                                                             26   that she is entitled to a refund without paying the $200 fee in ASAP’s Rules and Conditions.

                                                             27   “Neither a lay person nor an attorney may presume to instruct the court in the law.” A&M

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                                                              1   Records, Inc. v. Napster, Inc., No. C9905183MHP, 2000 WL 1170106 at *11 (N.D. Cal. Aug.

                                                              2   10, 2000).

                                                              3                                              Objection No. 2:
                                                              4   Objection: “All Nippon hung up on me each time.” See Bugarin Decl., ¶ 6, l. 2.
                                                              5   Basis for Objection: Lacks Foundation. FED. R. EVID. 602 (West 2021). Plaintiff has failed to
                                                              6   demonstrate that there is a factual basis underlying her assertion that ANA hung up on her and
                                                              7   has only pled that her calls to ANA “dropped” after being on hold for some time.
                                                              8                                              Objection No. 3:
                                                              9   Objection: “All Nippon made it impossible for me to reach a live person and made it
                                                             10   impossible in a refund.” See Bugarin Decl., ¶ 7, l1. 3-4.
                                                             11   Basis for Objection: Conclusion of Law. Pursuant to Federal Rule of Evidence 701, lay witness
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                                                             12   testimony is limited to the witness’ opinion based on his or her perception and must be helpful to
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                                                             13   clearly understand witness’ testimony or determine a fact in issue. FED. R. EVID. 701 (West
                                                             14   2021). Here, Plaintiff does neither and opines regarding a conclusion of law, i.e., that ANA
                                                             15   frustrated the condition precedent by making it impossible to request a refund. “Neither a lay
                                                             16   person nor an attorney may presume to instruct the court in the law.” A&M Records, Inc. v.
                                                             17   Napster, Inc., No. C9905183MHP, 2000 WL 1170106 at *11 (N.D. Cal. Aug. 10, 2000).
                                                             18                                              Objection No. 4:
                                                             19   Objection: “All Nippon did not provide alternative means by which I could obtain a refund”
                                                             20   See Bugarin Decl., ¶ 8, l. 5.

                                                             21   Basis for Objection: Lacks Foundation and Personal Knowledge. FED. R. EVID. 602 (West
                                                             22   2021). Plaintiff has failed to set forth facts demonstrating that there was no alternative means by

                                                             23   which she could have obtained a refund and does not provide any evidence that would support a

                                                             24   finding that she has personal knowledge regarding all possible means of obtaining a refund from

                                                             25   ANA.

                                                             26                                              Objection No. 5:
                                                             27   Objection: “I am the one who paid for the tickets and therefore am entitled to a full refund
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                                                              1   pursuant to All Nippon’s Conditions of Carriage.” See Bugarin Decl., ¶ 9, ll. 6-7.

                                                              2   Basis for Objection: Conclusion of Law. Pursuant to Federal Rule of Evidence 701, lay witness
                                                              3   testimony is limited to the witness’ opinion based on his or her perception and must be helpful to

                                                              4   clearly understand witness’ testimony or determine a fact in issue. FED. R. EVID. 701 (West

                                                              5   2021). Here, Plaintiff does neither and improperly opines regarding a conclusion of law, i.e.,

                                                              6   that she is entitled to a full refund pursuant to ANA’s COC. “Neither a lay person nor an

                                                              7   attorney may presume to instruct the court in the law.” A&M Records, Inc. v. Napster, Inc., No.

                                                              8   C9905183MHP, 2000 WL 1170106 at *11 (N.D. Cal. Aug. 10, 2000).

                                                              9                                              CONCLUSION
                                                             10          For the foregoing reasons, Defendant All Nippon Airways respectfully requests that the

                                                             11   Court compel Plaintiff to submit her claim to arbitration and/or dismiss Plaintiff’s Second
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                                                             12   Amended Complaint in its entirety. At the hearing on its motion to dismiss, ANA also
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                                                             13   respectfully requests that the court sustain the above objections and strike these portions of the

                                                             14   declaration of Plaintiff Ashley Bugarin.

                                                             15

                                                             16   Dated: March 5, 2021                              CONDON & FORSYTH LLP

                                                             17

                                                             18                                                     By:/s/ Scott D. Cunningham
                                                                                                                       SCOTT D. CUNNINGHAM
                                                             19                                                        JENNIFER J. JOHNSTON
                                                                                                                       IVY L. NOWINSKI
                                                             20                                                        GRACE M. LAU
                                                                                                                       Attorneys for Defendant
                                                             21                                                        ALL NIPPON AIRWAYS CO., LTD.
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